
131 Ga. App. 53 (1974)
205 S.E.2d 96
J. R. P.
v.
STATE OF GEORGIA.
48857.
Court of Appeals of Georgia.
Submitted January 10, 1974.
Decided February 21, 1974.
Harrison, Martin, Childs &amp; Foster, Mobley F. Childs, John R. Grimes, for appellant.
Lewis R. Slaton, District Attorney, James H. Mobley, Jr., Morris H. Rosenberg, Carter Goode, for appellee.
EVANS, Judge.
A policeman was killed when his motorcycle and a car driven by a 16-year-old male collided in the City of Atlanta on Memorial Drive at an intersection. The policeman was traveling east, and the car was traveling west, and as they were meeting, the car turned to the left to enter Wood Street. The speed limit here was 30 miles per hour.
A witness testified that he was traveling 30 miles per hour shortly before the collision, and the defendant drove his car past the car of the witness. Another witness testified that the car turned to its left directly in front of the motorcycle. Defendant introduced testimony to show he was not speeding, and that the motorcycle was speeding as it came over the top of a hill, and then ran into defendant's car.
The juvenile court judge, after hearing all the testimony, found the defendant subject to the law as a delinquent, and in need of rehabilitation because the evidence was sufficient to sustain a finding that he had committed involuntary manslaughter in failing to yield the right of way. If there was "any evidence" to sustain the finding of the trior of facts, that finding should be *54 affirmed. The judge occupied the position of a jury as to making a determination of which witnesses he would believe. If the state's witnesses testified truthfully (and the decision as to whether they were testifying truthfully or not rested solely and completely in the judgment of the juvenile judge), then the defendant was violating the speed laws of the City of Atlanta, and turned to his left directly into the path of the motorcycle and caused the policeman's death.
Judgment affirmed. Eberhardt, P. J., and Pannell, J., concur.
